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                                                                                               May 7, 2020

VIA ECF

Honorable Vernon S. Broderick
United District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 415
New York, NY 10007


          Re: Safani Gallery v. The Italian Republic, Civil Action No. 1:19-10507-VSB
                                        Extension of Time


Dear Judge Broderick:

       We represent the Defendant, the Italian Republic (“Italy”), in the above-captioned matter.
I am writing to Your Honor today pursuant to Rule 1.A and 1.G and consistent with Rule 4.G of
Your Honor’s Individual Rules and Practices in Civil Cases and consistent with the Court’s Local
Rules.

        Our client was served Plaintiff’s complaint on February 8, 2020. Unfortunately, due to the
global COVID-19 pandemic, Italy’s early lockdown and the tragic losses suffered by the nation,
our client’s governmental agencies have been suffering significant communication delays and the
appropriate authorities were not notified of the complaint in a timely fashion. Italy sent a letter to
Your Honor’s chambers and to Plaintiff’s counsel on April 8, 2020 requesting an extension of time
to respond. As Italy had not retained counsel by that date, opposing counsel Mr. David Schoen
graciously uploaded our client’s request on ECF, and Your Honor granted the extension.

       As you may expect, in the light of the continuing global health crisis, it took Italy
considerably longer than usual to retain counsel. The nation has slowly commenced a “soft”
reopening of the State this week, and just today (May 7, 2020) formally retained this law firm to
represent it in this action. As discussed with Plaintiff’s counsel, we plan to file a Motion to Dismiss
which would be due tomorrow (May 8, 2020). As we are working under an extremely short


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deadline and the Italian government expects the delays in communication to continue due to the
pandemic, we kindly request a second extension of time for filing the Motion. There is no
scheduling order in place yet and, so the extension would not affect any other scheduled dates.
Plaintiff’s counsel consents to extending the filing deadline for another forty-five (45) days to
Monday, June 22, 2020.

        We apologize for requesting a second extension of time and any inconvenience, but we
only just entered our appearance on the ECF.

       I certify, under penalty of perjury, that the foregoing is true and correct.

       We thank Your Honor for the Court’s consideration in this matter, and we hope for the
Court’s health and safety during these turbulent times.


                                                                      Respectfully submitted,
                                                                      /s/ Leila Amineddoleh


cc: David Schoen (via email: DSchoen593@aol.com)




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